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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

BRADLEY LEE HINES,                           )
                                             )
                          Plaintiff,         )
                                             )
                     v.                      )    No. 1:20-cv-01842-JPH-MJD
                                             )
2 CONNERSVILLE POLICEMAN,                    )
                                             )
                          Defendant.         )

     ORDER DENYING PLAINTIFF’S MOTION TO PROCEED IN FORMA
                           PAUPERIS

      On July 27, 2020, this Court ordered Mr. Hines to either pay the full filing

fee or renew his motion to proceed in forma pauperis by attaching a "statement

of all assets [that Mr. Hines] possesses that [he] is unable to pay such fees or

give security therefor" by August 27, 2020. See dkt. [6]; 28 U.S.C. § 1915(a)(1).

      Mr. Hines has failed to comply with this Court’s order. Accordingly, his

motion to proceed in forma pauperis, dkt. [2], is again denied as presented

without prejudice. Therefore, Mr. Hines shall have until September 29, 2020,

to either pay the full filing fee or renew his motion to proceed in forma pauperis.

Failure to do so will result in dismissal of this action without further notice.

SO ORDERED.
Date: 8/28/2020




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Distribution:

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